                 Case 1-15-44838-nhl              Doc 20        Filed 12/23/15         Entered 12/24/15 00:18:38


                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 15-44838-nhl
Guillermo Rodriguez                                                                                        Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: mmendieta                    Page 1 of 1                          Date Rcvd: Dec 21, 2015
                                      Form ID: 274                       Total Noticed: 5


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 23, 2015.
db             +Guillermo Rodriguez,    308 Harman Street,   Brooklyn, NY 11237-4933
8686516        +Wells Fargo Bank,    c/o Frankel, Lambert and Weiss,   20 West Main Street,,
                 Bayshore, NY 11706-8326
8696713        +Wells Fargo Bank, NA,    c/o Frenkel Lambert et al,   53 Gibson Street,
                 Bay Shore, NY 11706-8369

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Dec 21 2015 18:15:11
                 Office of the United States Trustee,   Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,   201 Varick Street, Suite 1006,   New York, NY 10014-9449
8711615         EDI: RMSC.COM Dec 21 2015 18:13:00     Synchrony Bank,   c/o Recovery Management Systems Corp.,
                 25 S.E. 2nd Avenue, Suite 1120,   Miami, FL 33131-1605
                                                                                            TOTAL: 2

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 23, 2015                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 21, 2015 at the address(es) listed below:
              Karen Marie Sheehan    on behalf of Creditor   Wells Fargo Bank, NA ksheehan@flwlaw.com,
               jspiegelman@flwlaw.com;plamberti@flwlaw.com
              Marianne DeRosa     Derosa@ch13mdr.com, mderosa13@ecf.epiqsystems.com
              Office of the United States Trustee    USTPRegion02.BR.ECF@usdoj.gov
                                                                                             TOTAL: 3
               Case 1-15-44838-nhl                   Doc 20   Filed 12/23/15    Entered 12/24/15 00:18:38


                                                United States Bankruptcy Court
                                                     Eastern District Of New York
                                                 271−C Cadman Plaza East, Suite 1595
                                                      Brooklyn, NY 11201−1800

 IN RE:                                                                                     CASE NO: 1−15−44838−nhl
     Guillermo Rodriguez
 Social Security/Individual Taxpayer ID/Taxpayer ID/Employer ID No.:                                       CHAPTER: 13
     xxx−xx−9676
                                DEBTOR(s)


                                 NOTICE OF AUTOMATIC DISMISSAL OF CASE
                                        UNDER BANKRUPTCY CODE § 521 (i)(1)


1) This case was filed on October 28, 2015 with deficiencies.

2) A Notice of Deficiency Filing was sent on October 28, 2015 informing the debtor(s), among other things, that
there were outstanding statements, schedules and/or lists to be filed or the case may be subject to automatic
dismissal under § 521(i)(1) of the Bankruptcy Code.

3) A Final Notice of Section 521 Deficiencies was sent on November 30, 2015 notifying the debtor(s) that certain
documents remained outstanding and in the absence of those documents being filed, the case would be dismissed
under § 521(i)(1) of the Bankruptcy Code.

4) As of this date, some or all of the required documents have not been filed with the Clerk of the Court.

Under § 521(i)(1), the above captioned case is dismissed effective on the 46th day after the date of the filing of the
petition.



 Dated: December 21, 2015


                                                                    For the Court, Robert A. Gavin, Jr., Clerk of Court




BLnod521.jsp [Notice of Dismissal rev.2/8/06]
